
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          Nos. 95-1224
               95-1337

                           AFL-CIO LAUNDRY AND DRY CLEANING
                                 INTERNATIONAL UNION,

                                Plaintiff - Appellant,

                                          v.

                               AFL-CIO LAUNDRY, ET AL.,

                               Defendants - Appellees.

                                 ____________________

                    APPEALS FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. Joseph L. Tauro, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                               Torruella, Chief Judge,
                                          ___________
                                Lynch, Circuit Judge,
                                       _____________
                            and Stearns,* District Judge.
                                          ______________

                                _____________________

               Nathan S. Paven, with  whom Paven &amp; Norton, Warren  H. Pyle,
               _______________             ______________  _______________
          Lois  H.  Johnson and  Angoff, Goldman,  Manning, Pyle,  Wanger &amp;
          _________________      __________________________________________
          Hiatt, P.C. were on brief for appellant.
          ___________
               Shelley B. Kroll, with whom Anne R. Sills and Segal, Roitman
               ________________            _____________     ______________
          &amp; Coleman were on brief for appellees.
          _________



                                 ____________________

                                   December 5, 1995
                                 ____________________

                              
          ____________________

          *  Of the District of Massachusetts, sitting by designation.














                    TORRUELLA, Chief  Judge.   The AFL-CIO Laundry  and Dry
                    TORRUELLA, Chief  Judge.
                               ____________

          Cleaning  International Union  ("the International")  appeals the

          district court's decision to deny its motion for an injunction to

          compel the AFL-CIO Laundry  and Dry Cleaning International Union,

          Local 66  ("Local 66") and several  of its officers to  turn over

          assets,  books,  and  records  to  a  trustee  appointed  by  the

          International.  We affirm the decision of the district court.

                                      BACKGROUND
                                      BACKGROUND

                    The  following facts  are  not in  dispute.   Local  66

          represents laundry workers in the Somerville, Massachusetts area.

          On  August  25,  1993,  Local   66  wrote  to  the  International

          requesting its approval to disaffiliate from the International in

          order  to reaffiliate  with  the Amalgamated  Clothing &amp;  Textile

          Workers International  Union ("ACTWU").  The International denied

          Local 66's request.   Thereafter, Local 66's membership voted  to

          disaffiliate,  and Local  66 informed  the International  of this

          decision on November 18, 1994.

                    In response, the International declared that, under its

          constitution,  an emergency existed with regard to Local 66.  The

          International suspended all of  Local 66's officers and appointed

          a trustee over Local 66.  Local 66 did not recognize the trustee,

          and also refused to  turn over its books, records,  bank accounts

          and premises.

                    On  December  12,  1994,  the   International  filed  a

          complaint  requesting  injunctive  relief  to  force  Local  66's

          officers to  recognize the  trustee.  The  district court  denied


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          this request in its Order of January 26, 1995.  When the district

          court made  its decision,  the merits  of the  underlying dispute

          were  before the National Labor Relations  Board, which has since

          decided that Local 66  (now "Local 66L," but referred  to in this

          opinion as "Local  66") will  represent the workers  as an  ACTWU

          affiliate.     See  Aramark  Uniform  Services,  Case  1-CA-32465
                         ___  __________________________

          (N.L.R.B.  May 10,  1995) (memorandum  also  addressing companion

          cases).   Here,  the International  appeals the  district court's

          decision denying injunctive relief.

                                      DISCUSSION
                                      DISCUSSION

                      We review a  district court's denial of  a motion for

          preliminary injunction  only for "abuse of  discretion" or "clear

          error"  of fact  or  related law.    Coastal Fuels  v.  Caribbean
                                               _____________      _________

          Petroleum,  990 F.2d 25,  26 (1st Cir.  1993); Planned Parenthood
          _________                                      __________________

          League of Mass. v. Bellotti, 641 F.2d 1006, 1009 (1st Cir. 1981).
          _______________    ________

                    To  be  entitled  to   a  preliminary  injunction,  the

          International  had to show the  district court (1)  that it would

          suffer irreparable harm  if the injunction were  not granted; (2)

          that such  injury outweighed  any harm which  granting injunctive

          relief  would  inflict on  the  defendant;  (3) a  likelihood  of

          success on the merits; and (4) that the public interest would not

          be adversely affected by granting the injunction.  See, e.g., Pye
                                                             ___  ___   ___

          on  Behalf of NLRB  v. Sullivan Bros.,  38 F.3d 58,  63 (1st Cir.
          __________________     ______________

          1994);  Narragansett Indian Tribe v. Guilbert, 934 F.2d 4, 5 (1st
                  _________________________    ________

          Cir. 1991).




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                    The district court denied the International's motion on

          the  grounds  that  the   International  failed  to  show  either

          likelihood that it would succeed  on the merits or that it  would

          suffer  irreparable harm  if the  injunction did  not issue.   In

          particular,  the   district  court  found  that   contrary  to  a

          likelihood of  success, the International  was likely to  fail on

          the  merits  since  the  trusteeship aimed  at  the  illegitimate

          purpose of  preventing Local 66's disaffiliation.   Additionally,

          the district court found that the true harm to the International,

          the loss of  the workers in Local 66, had already occurred, while

          the harm  that the  International claimed, inability  to exercise

          its rights under its constitution, was merely "symbolic."

                    On appeal,  the International  responds that it  is not

          trying to  use  the trusteeship  to prevent  disaffiliation.   It

          explains that  since disaffiliation  has already taken  place, it

          simply  wishes to recover the property, books, and records of the

          entity it terms "Local  66, Laundry Workers," which it  claims is

          still  extant.  As a result of this asserted continued existence,

          the International  further argues  that its trusteeship  is valid

          and  it  will likely  succeed on  the  merits.   Furthermore, the

          International contends that it is favored by the balance of harms

          test, since this  test requires that  the International be  given

          the sought-after assets  in order  to compete with  Local 66  for

          worker support.






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                    The validity  of a  trusteeship, as the  district court

          recognized, is  governed by Section  462 of the  Labor Management

          Reporting and Disclosure Act, which states that:

                      Trusteeships  shall  be  established  and
                      administered by a labor organization over
                      a  subordinate  body  only in  accordance
                      with the constitution  and bylaws of  the
                      organization     which    has     assumed
                      trusteeship over the subordinate body and
                      for the purpose of  correcting corruption
                      or  financial  malpractice, assuring  the
                      performance   of  collective   bargaining
                      agreements   or   other   duties   of   a
                      bargaining    representative,   restoring
                      democratic   procedures,   or   otherwise
                      carrying  out  the legitimate  objects of
                      such labor organization.

          29  U.S.C.    462  (1988).    Section  462  sets  forth  specific

          legitimate  reasons for  imposing a  trusteeship that  benefits a

          union's   membership,  including:     correcting   corruption  or

          financial  malpractice;  assuring the  performance  of collective

          bargaining agreements  or other bargaining  duties; and restoring

          democratic  procedures.    Id.     However,  courts  have  widely
                                     ___

          recognized that preventing disaffiliation is not a proper purpose

          under   462 for the  imposition of a trustee.  Local  Union 13410
                                                         __________________

          v.  United  Mine Workers,  475 F.2d  906,  912 (D.C.  Cir. 1973);
              ____________________

          United  Bhd. of Carpenters v. Brown, 343 F.2d 872, 873 (10th Cir.
          __________________________    _____

          1965); Boilermakers v. Local Lodge 1244, 1988 WL 114590, *5 (N.D.
                 ____________    ________________

          Ind.); International  Bhd. of  Boilermakers v. Local  Lodge D405,
                 ____________________________________    _________________

          699  F. Supp.  749, 755  (D. Ariz.  1988); International  Bhd. of
                                                     ______________________

          Boilermakers v. Local Lodge D74, 673 F. Supp. 199, 203 (W.D. Tex.
          ____________    _______________

          1987).



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                    The International correctly contends that   462 confers

          on its trustee  a presumption  of validity, unless  Local 66  can

          show by  clear and convincing  evidence that the  trusteeship was

          not established  in good faith for  a purpose under the  Act.  29

          U.S.C.    464(c) (1988).1  However, the district court found that

          Local 66 had  met this  burden, since the  International made  no

          allegations and  presented no  evidence of financial  misdeeds or

          other  factors  that would  support  a  trusteeship.   While  the

          International argues  that the trusteeship was  imposed after the
                                                                  _____

          disaffiliation, and  thus could not prevent it,  we conclude that

          by denying Local 66 current access to  its records and funds, the

          International  could  forestall  Local  66's  attempts  to   gain

          recognition from employers as  a bargaining agent affiliated with

          ACTWU.  The strongest evidence was that  the International sought

                              
          ____________________

          1  Which states that:

                        In  any  proceeding  pursuant  to  this
                      section  a  trusteeship established  by a
                      labor organization in conformity with the
                      procedural     requirements    of     its
                      constitution and bylaws and authorized or
                      ratified  after  a  fair  hearing  either
                      before the executive board or before such
                      other   body  as   may  be   provided  in
                      accordance   with  its   constitution  or
                      bylaws  shall  be  presumed  valid  for a
                      period of eighteen  months from the  date
                      of  its establishment  and  shall not  be
                      subject  to  attack  during  such  period
                      except  upon  clear and  convincing proof
                      that the trusteeship was  not established
                      or maintained in good faith for a purpose
                      allowable  under  section  462   of  this
                      title.

          Id.
          ___

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          the  trusteeship to  influence  the matter  of the  disaffilation

          vote.

                    On  appeal,  the International  also  contends  that it

          requires  the books  and  records in  order  for its  "Local  66,

          Laundry Workers" to continue representing workers, a valid reason

          for  a trusteeship under   462.   However, the district court has

          already found  that the International and  its appointed trustees

          were not representing workers  after the disaffiliation, but were

          instead sitting atop  an "empty  shell."  The  district court  so

          determined based on evidence that 98 percent of those voting from

          Local 66 had  voted to disaffiliate and  that in less than  three

          months all  but two of  fifteen employers  had already  expressed

          willingness  to recognize  Local 66  as an  ACTWU affiliate.   We

          uphold  the  district court's  factual  finding  that "Local  66,

          Laundry  Workers" is an empty shell as not clearly erroneous, and

          thus reject the International's argument that it needs the assets

          for ongoing representation.

                    We also  uphold the  district court's finding  that the

          balance  of   harms  test  favors  denying  the   motion  for  an

          injunction.    On appeal,  the  International  contends that  the

          district  court failed  to  recognize the  irreparable harm  that

          resulted  from being deprived of the assets in question while the

          International  had bargaining  rights to  protect.   However, the

          district  court  recognized  that  Local 66,  ACTWU  was  already

          representing  the bulk of the  employees in question,  and so the

          balance of  harms  favored denying  the  injunction.   While  the


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          International may indeed have been inhibited in competing for the

          workers' representation,  that harm does not  outweigh the danger

          of obstructing  their actual  current representation.   We uphold

          the district court's  finding.2  For  the foregoing reasons,  the

          judgment  of the  district court  is affirmed.   Double  costs to
                                               affirmed.
                                               ________

          appellee.




































                              
          ____________________

          2  Appellant has asked for a status conference in order to settle
          the question  of  its entitlement  to  the requested  records,  a
          request which the district court may consider at its discretion.

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